                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                          THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

 In the Matter of:                                      )
                                                        )
 Michael W. Davidson                                    )
 SSN: XXX-XX-3867                                       )       CASE NO. 18-82270-CRJ11
                                                        )
                Debtor.                                 )       CHAPTER 11
                                                        )

                  APPLICATION BY DEBTOR-IN-POSSESSION FOR
              APPROVAL OF EMPLOYMENT OF BANKRUPTCY COUNSEL

        COMES NOW, Michael W. Davidson debtor and debtor-in-possession (“Debtor”), and

 hereby files this application for approval of employment of the law firm of Heard, Ary & Dauro,

 LLC, as counsel, and says as follows:

 1.     The Debtor filed a petition for relief under Chapter 11 of Title 11 on July 31, 2018.

 2.     Debtor is the duly qualified and acting debtor-in-possession in this case pursuant to 11

        U.S.C. §§ 1107 and 1108.

 3.     Debtor, as debtor-in-possession, desires to employ as counsel, the law firm of Heard, Ary

        & Dauro, LLC, whose attorneys are duly admitted to practice before this Court.

 4.     In the opinion of the Debtor, the employment of Heard, Ary & Dauro, LLC, is in the best

        interest of the estate for the reason that its attorneys have considerable experience in matters

        of this character, and the Debtor believes that these attorneys are well-qualified to act as

        counsel to represent them as debtor-in-possession in this proceeding.

 5.     The professional services which the attorneys at Heard, Ary & Dauro, LLC are to render

        include:

        (a)     To give Debtor legal advice with respect to its powers and duties as debtor-in-

                possession;




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        (b)    To take necessary action against various creditors, entities, governmental agencies,

               etc., to enforce the stay and protect the interests of the Debtor;

        (c)    To prepare on behalf of or to assist the Debtor in preparing, as debtor-in-possession,

               all necessary applications, answers, orders, reports and legal papers including the

               formulation of a disclosure statement and plan of reorganization; and

        (d)    To perform all other legal services for Debtor, as debtor-in-possession, which may

               be necessary herein.

 6.     To the best of Debtor’s knowledge, Heard, Ary & Dauro, LLC, and its attorneys have no

        connection with the creditors, or any other party in interest or the respective attorneys and

        each qualifies as a “disinterested person” as that term is defined in Section 101(14) of the

        Bankruptcy Code.

 7.     Debtor desires to employ Kevin D. Heard and Angela S. Ary as counsel with an effective

        date of July 31, 2018 for the purpose of representing the Debtor as debtor-in-possession in

        the bankruptcy case and any and all proceedings arising in or related thereto and such other

        representation and litigation as is necessary for the preservation of the rights, properties

        and assets for the Debtors as debtor-in-possession during the pendency of this case.

 8.     The terms of the employment of Heard, Ary & Dauro, LLC, agreed to by the debtor-in-

        possession, subject to the approval of this Court, are that Kevin D. Heard shall represent

        the Debtor at his standard hourly rate of $295.00 per hour and Angela S. Ary shall represent

        the Debtor at her standard hourly rate of $225.00 per hour. The hourly rates are subject to

        periodic adjustments to reflect economic and other conditions.

        WHEREFORE, PREMISES CONSIDERED, your applicants pray that they be authorized

 to employ and appoint the law firm of Heard, Ary & Dauro, LLC as counsel under the arrangement


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 as hereinabove described, to represent him as debtor-in-possession in this case under Chapter 11

 of Title 11 of the United States Code, with the effective date as provided herein and that this

 Honorable Court enter its order approving said employment and the terms of payment thereof as

 described in the preceding paragraphs of this application, and that the Debtor has such other and

 further relief as is just and proper.

         Respectfully submitted this 2nd day of August, 2018.



                                                 /s/ Kevin D. Heard
                                                 Kevin D. Heard

                                                 /s/ Angela S. Ary
                                                 Angela S. Ary

                                                 Proposed Attorneys for Debtor
                                                 Heard, Ary & Dauro, LLC
                                                 303 Williams Avenue, Suite 921
                                                 Huntsville, Alabama 35801
                                                 256-535-0817
                                                 kheard@heardlaw.com
                                                 aary@heardlaw.com



                                    CERTIFICATE OF SERVICE

         I hereby certify that on the 2nd day of August, 2018, I served a copy of the foregoing
 Application by Debtor-In-Possession for Approval of Employment of Bankruptcy Counsel on the
 parties listed below, and on the clerks certified matrix, by depositing the same in the United States
 Mail, postage prepaid and properly addressed, via electronic mail at the e-mail address below,
 unless the party being served is a registered participant in the CM/ECF System for the United
 States Bankruptcy Court for the Northern District of Alabama, service has been made by a “Notice
 of Electronic Filing” pursuant to FRBP 9036 in accordance with subparagraph II.B.4. of the
 Court’s Administrative Procedures as indicated below:




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 Notice will be electronically mailed to:

 Richard Blythe
 Richard_Blythe@alnba.uscourts.gov, courtmaildec@alnba.uscourts.gov

 Notice will not be electronically mailed to:
 MAILING MATRIX IS SERVED BY U.S. MAIL



                                            /s/ Kevin D. Heard
                                            Kevin D. Heard




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